Fill in this information to identify your case!

 

United States Bankruptcy Court for the:

District of

Case number (if known):

Official Form 101

 

Chapter you are filing under:
O Chapter 7

OQ) Chapter 11

OQ) Chapter 12

OQ Chapter 13

 

JUL 08 2017

U.S. Bankni Court
oan alee, NC

Q) Check if this is an
amended filing

Voluntary Petition for Individuals Filing for Bankruptcy 1216

The bankruptcy forms use you and Debtor 1 to refer to a debtor fillng alone. A married couple may file a bankruptcy case together—called a
Joint case—and In Joint cases, these forms use you to ask for information from both debtors. For example, If a form asks, “Do you own a oar,”
the answer would be yes if elther debtor owns a car. When information Is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 In all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible fer supplying correct
information. If more space Is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Identify Yourself

 

41. Your full name

Write the name that is on your
government-issued picture
identification (for example,
your driver's license or
passport).

Bring your picture

identification to your meeting
with the trustee.

2. All other names you
have used in the last 8
years

Include your married or
maiden names.

3. Only the last 4 digits of
your Social Security
number or federal
Individual Taxpayer
Identification number
(ITIN)

Official Form 101

 

 

 

 

 

 

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):
Timothy

First name First name

R.

Middle name Middle name

Harrison

Last name Last name

Suffix (Sr., Jr., U, Ill)

Suffix (Sr, Jr., Il, II)

 

 

 

 

 

 

 

 

 

 

 

 

First name First name

Middle name Middle name

Last name Last name

First name First name

Middle name Middle name

Last name Last name

xxx — xx-_1 0 4 7. XXX — XX
OR OR

Sxx - xx - 9 xx — xx -

Voluntary Petition for Individuals Fiting for Bankruptcy page 1
Debtor 1

Timothy /*/ R. <=!) Harrigon

 

First Name Miuidto Nama

mete

4. Any business names
and Employer.
identification Numbers
(EIN) you have used in
the last 8 years

Include trade names and
doing business as names

5. Where you live

6. Why you are choosing
this district to file for
bankruptcy

Official Form 101

Last Namo

About Debtor 1: os

(11 have not used any business names or EINs.

'Casé nubhber prs! 1

_ Case 17-50718 Doc1 Filed 07/03/17 Page 2 of 9

About Debtor 2 (Spouse Only in a Joint Case):

C] I have not used any business names or EINs.

 

 

Business name

Business name

 

Business name

Business name

 

 

 

 

 

 

 

EIN EIN
If Debtor 2 lives at a different address:
340 Trexler Rd.
Number Street Number Street
Salisbury NC 28146
City State ZIP Code City State ZIP Code
Rowan County
County County

If your malling address Is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

 

Number Street

 

If Debtor 2's mailing address Is different from
yours, fill It in here. Note that the court will send
any notices to this mailing address.

 

Number Street

 

 

P.O. Box P.O, Box
City . ‘State ZIP Code City State ZIP Code
Check one: Check one:

C2) Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

(J | have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

C2 Over the last 180 days before filing this petition,
I have lived in this district longer than in any
other district.

(J | have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

Voluntary Petition for Individuals Filing for Bankruptcy page 2
Debtor 1 Timothy

Fired Maina Middle Name

Part 2: | Tell the Court About Your Bankruptcy Case

Case 17-50718 Doci Filed 07/03/17 Page 3of9

R. Harrison

Last Name

Case number (if knsawn)

 

7. The chapter of the
Bankruptcy Code you
are choosing to file
under

8. How you will pay the fee

9. Have you filed for
bankruptcy within the
last 8 years?

10. Are any bankruptcy
cases pending or being
filed by a spouse who is
not fillng this case with
you, or by a business
partner, or by an
affiliate?

11. Do you rent your
residence?

Official Form 101

Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.

chapter 7
LJ Chapter 11

C) Chapter 12
(] Chapter 13

(I will pay the entire fee when | file my petition. Please check with the clerk's office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. If your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check

with a pre-printed address.

C1 | need to pay the fee in installments. If you choose this option, sign and attach the
Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

wr request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). If you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

7UNo

QO) Yes. District
District

District

—tINo

U) Yes. Debtor

District

Debtor

District

Aan. Go to line 12.

When

When

When

MM/ DD/YYYY
MM/ DD/YYYY

MM/ DD/YYYY

 

When

MM/DD /YYYY

 

When

MM/DD/YYYY

Case number

Case number

Case number

Relationship to you

Case number, if known

Relationship to you

Case number, if known.

U Yes. Has your landlord obtained an eviction judgment against you and do you want to stay in your

residence?

LJ No. Go to line 12.

this bankruptcy petition.

Ye

U2 Yes. Fill out /nitial Statement About an Eviction Judgment Against You (Form 101A) and file it with

Voluntary Petition for Individuals Filing for Bankruptcy

page 3
Debtor 1

_ Timothy

First Name

Middle Name

Case 17-50718 Doci Filed 07/03/17 Page4of9

R. Harrison

Last Name

Case number (known)

ie Report About Any Businesses You Own as a Sole Proprietor

12, Are you a sole proprietor _[-fio, Go to Part 4.

13.

of any full- or part-time
business?

A sole proprietorship is a
business you operate as an
individual, and is nota
separate legal entity such as
a corporation, partnership, or
LLC.

If you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

Are you filing under
Chapter 11 of the
Bankruptcy Code and
are you a small business
debtor?

For a definition of smalf

business debtor, see
11 U.S.C. § 101(51D).

CJ Yes. Name and location of business

 

Name of business, if any

 

Number Street

 

City State

Check the appropriate box to describe your business:

(} Health Care Business (as defined in 11 U.S.C. § 101(27A))
L] Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
CI Stockbroker (as defined in 11 U.S.C. § 101(53A))

LJ Commodity Broker (as defined in 11 U.S.C. § 101(6))

LY None of the above

ZIP Code

If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if

any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

Jf No. tam not filing under Chapter 11.

(3 No. | am filing under Chapter 11, but | am NOT a small business debtor according to the definition in

the Bankruptcy Code.

UL) Yes. 1am filing under Chapter 11 and | am a smail business debtor according to the definition in the

Bankruptcy Code.

ia Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14,

Do you own or have any
property that poses or is
alleged to pose a threat
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?
For example, do you own
perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

Official Form 101

ZANo

Lt Yes. What is the hazard?

 

 

If immediate attention is needed, why is it needed?

 

 

Where is the property?

 

 

 

Number Street
City State ZIP Code
Voluntary Petition for Individuals Filing for Bankruptcy page 4
Timothy

First Name

Debtor 1

| Part 5: | Explain Your Efforts to Receive a Briefing About Credit Counseling

15. Tell the court whether
you have recelved a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. If you
cannot do so, you are not
eligible to file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Form 101

Middle Name

Case 17-50718 Doci_ Filed 07/03/17 Page5of9

R. Harrison

Last Name

About Debtor 1:

You must check one:

C} | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

wg | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

Oi certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

CL) tam not required to receive a briefing about
credit counseling because of:

(C) incapacity. have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

L} Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after I

reasonably tried to do so.

() Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for Individuals Filing for Bankruptcy

Case number (i kaowr)

 

About Debtor 2 (Spouse Only In a Joint Case):

You must check one:

(} I received a briefing from an approved credit
counselling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

LJ I received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

() i certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

LJ 1 am not required to receive a briefing about
credit counseling because of:

Q) Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

LJ Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |

reasonably tried to do so.

U Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

page 5
Timothy

Firsl Name

Debtor 1

Middle Name

Case 17-50718 Doci_ Filed 07/03/17 Page6of9

Case number (if known),

R. Harrison

Las! Naine

eid answer These Questions for Reporting Purposes

 

16. What kind of debts do
you have?

17. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is
excluded and
administrative expenses
are paid that funds will be
available for distribution
to unsecured creditors?

18. How many creditors do
you estimate that you
owe?

19. How much do you
estimate your assets to
be worth?

20. How much do you
estimate your liabilities
to be?

Flag Sign Below

For you

Official Form 101

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or household purpose.”

LJ No. Go to line 16b.
Ad Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

LP No. Go to line 16c.
UO Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts.

 

QO) No. 1am not filing under Chapter 7. Go to line 18.

JA Yes.

| am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

QO) No
Dyes
CT 1-49 OU 1,000-5,000 LJ 25,001-50,000
CI 50-99 OU) 5,001-10,000 1 50,001-100,000
LJ 100-199 O 10,001-25,000 L] More than 100,000
L) 200-999
U) $0-$50,000 C) $1,000,001-$10 million UL) $500,000,001-$1 billion

( $1,000,000,001-$10 billion
(2 $10,000,000,001-$50 billion
(1 More than $50 billion

(J $10,000,001-$50 million
() $50,000,001-$100 million
{] $100,000,001-$500 million

JA $50,001-$100,000
C1 $100,001-$500,000
CI $500,001-$1 million

CJ $500,000,001-$1 billion

CI $1,000,000,001-$10 billion
CI $10,000,000,001-$50 billion
Q) More than $50 billion

U2) $1,000,001-$10 million

U2 $10,000,001-$50 million
C2 $50,000,001-$100 million
(2 $100,000,001-$500 million

C3 $0-$50,000

CJ $50,001-$100,000
42) $100,001 -$500,000
CJ $500,001-$1 million

| have examined this petition, and | declare under penalty of perjury that the information provided is true and
correct.

If |] have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. | understand the relief available under each chapter, and | choose to proceed
under Chapter 7.

If no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out
this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

} request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
d 3571,

   

 

Signature of Debtor 2

Executed on 06/30/2017

Executed on

MM / DD /YYYY

MM / DD /YYYY

Voluntary Petition for Individuals Filing for Bankruptcy page 6
Debtor 1 Timothy

For your attorney, if you are
represented by one

If you are not represented
by an attorney, you do not
need to file this page.

Official Form 101

R. Harrison Case number {if iow)

First Nani Middle Name

Case 17-50718 Doci_ Filed 07/03/17 Page 7 of9

 

Last Nare

|, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility
to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
available under each chapter for which the person is eligible. | also certify that | have delivered to the debtor(s)
the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that | have no
knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.

x Date

Signature of Attomey for Debtor MM / DD /YYYY

 

 

Printed name

 

Firm name

 

Number Street

 

 

 

 

City State ZIP Code
Contact phone Emailaddress —
Bar number State

Voluntary Petition for Individuals Fillng for Bankruptey page 7
Case 17-50718 Doci_ Filed 07/03/17 Page 8 of9

 

 

Debtor 1 Timothy R. Harrison Case number yrksiown)_

First Name Middle Name Last Name
For you if you are filing this The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an should understand that many people find it extremely difficult to represent
attorney themselves successfully. Because bankruptcy has long-term financial and legal

consequences, you are strongly urged to hire a qualified attorney.

If you are represented by
an attorney, you do not To be successful, you must correctly file and handle your bankruptcy case. The rules are very

need to file this page. technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. If that happens, you could tose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

If you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

Ld No

ja Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?
CI No

dd Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
No

UL] Yes. Name of Person .
Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).

By signing here, | acknowledge that | understand the risks involved in filing without an attorney. |
have read and understood this notice, and | am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if | do not properly handle the case.

   
   

 

 

 

 

 

 

//
7 x
_ - Signature of Debtor 2
Date 06/30/2017 Date _
MM/ DD /1YYYY MM/ DD /YYYY
Contact phone (704) 467-3243 Contact phone
Cell phone _ Cell phone
Email address {tharrison1 @gmail.com Email address
Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 8

 

 

——————————— SO en EE =——= =a
Case 17-50718 Doci Filed 07/03/17 Page9of9

Lists of Creditors
Quicken Loans
P.O. Box 6577

Carol Stream, IL 60197

Loan# 3316556797
